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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------------------x
   In re:                                                         Chapter 11

   AC I NEPTUNE LLC,                                              Case No.: 18-


                                       Debtor.
   ----------------------------------------------------------x

                               CERTIFICATION OF RESOLUTION

                    I, Benjamin Ringel, the undersigned Member of RK Neptune LLC

   (“RK”), the Sole Member of AC I NEPTUNE LLC (the “LLC”) do hereby certify that

   the following resolutions were adopted by the LLC, and they have not been modified or

   rescinded, and are still in full force and effect:


                            "RESOLVED, that in the judgment of the LLC it is
                    desirable and in the best interest of the LLC, its creditors,
                    members and other interested parties, that a petition be filed
                    by the LLC for relief under Chapter 11 of title 11 of the
                    United States Code (the "Bankruptcy Code"); and it is
                    further

                           "RESOLVED, that the form of petition under
                    Chapter 11 prepared by Shafferman & Feldman LLP is
                    approved and adopted in all respects, and that Benjamin
                    Ringel, a member of RK, the Sole Member of the LLC, is
                    authorized to execute and verify a petition substantially in
                    such form and to cause the same to be filed with the United
                    States Bankruptcy Court for the Southern District of New
                    York at such time as he shall determine; and it is further

                           "RESOLVED, that Benjamin Ringel, a member of
                    RK, the Sole Member of the LLC, is authorized to execute
                    and file all petitions, reorganization schedules, lists and
                    other papers and to take any and all other actions which he
                    may deem necessary or proper in connection with such
                    Chapter 11 case, and, in that connection, that the firm of
                    Shafferman & Feldman be retained and employed as legal
                    counsel for the LLC under a general retainer, in addition to
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                 such special counsel as may hereafter become necessary or
                 proper with a view to the successful conclusion of such
                 Chapter 11 case."


          IN WITNESS WHEREOF, I have hereunto set my hand and seal of the LLC

   this 9th day of August, 2018.


                                      __/S/ Benjamin Ringel____________________
                                      Benjamin Ringel, Member of RK Neptune LLC,
                                      the Sole Member of AC I NEPTUNE LLC




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